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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                        Plaintiff,                )
                                                  )           18 CV 2767
                v.                                )
                                                  )
FUNDS IN THE AMOUNT OF $26,575                    )
IN UNITED STATES CURRENCY,                        )
                                                  )
                        Defendants.               )   JURY TRIAL DEMANDED

                        VERIFIED COMPLAINT FOR FORFEITURE

          The United States of America, by John R. Lausch, Jr., United States Attorney for the

Northern District of Illinois, for its verified complaint against the above-named defendant funds

alleges in accordance with Supplemental Rule G(2) of the Federal Rules of Civil Procedure as

follows:

                                       Nature of the Action

          1.    This is a forfeiture in rem brought pursuant to 21U.S.C. § 881(a)(6), for forfeiture

of the defendant funds in the amount of $26,575.

          2.     This complaint is verified by the attached affidavit of Drug Enforcement

Administration (“DEA”) Task Force Agent (“TFO”) Eddy Sobkowiak, which is fully incorporated

herein.

                                      Jurisdiction and Venue

          3.    This Court has jurisdiction over an action commenced by the United States as the

plaintiff under 28 U.S.C. § 1345, and over an action for forfeiture in rem under 28 U.S.C. §

1355(a).

          4.     This Court has in rem jurisdiction over the defendant funds pursuant to 28 U.S.C.
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§ 1355(b)(1)(A), as certain of the acts giving rise to the forfeiture occurred within the Northern

District of Illinois.

        5.      Venue is proper under 28 U.S.C. §§ 1355(b)(1)(A) and 1395(a) as certain of the

acts giving rise to the forfeiture occurred within the Northern District of Illinois, and 28 U.S.C. §

1395(b) as the defendant funds were found within the Northern District of Illinois.

        6.      The defendant funds are subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6) as

the funds (i) were furnished and intended to be furnished in exchange for a controlled substance;

and/or (ii) are the proceeds from the sale of a controlled substance; and/or (iii) were funds used

and intended to be used to facilitate narcotics trafficking, in violation of 21 U.S.C. § 841, et seq.

                                        Specific Allegations

        7.      On December 4, 2017, DEA law enforcement officers assigned to the DEA Chicago

Interdiction Task Force Group (“Group 24”) were alerted to the suspicious travel itinerary of

Andres Miguel Villarreal (“Villarreal”).

        8.      Specifically, Villarreal was traveling from Lansing, Michigan to Austin, Texas via

Chicago Union Station on Amtrak. Villarreal's ticket was purchased within 48 hours of departure.

        9.      Based upon his training and experience, the affiant states that drug proceed couriers

often purchase one-way tickets, travel alone, and usually buy their tickets a day or so prior to the

scheduled departure and, in order to avoid detection, purchase private berths.         Further, based

upon the affiant’s training and experience, those who transport illegal drugs, or the proceeds of

illegal drug trafficking, often keep them on their person or accompanying bags or suitcases.

Based upon the above information, DEA agents sought to interview Villarreal.

        10.     On December 4, 2017, at approximately 1:15 p.m., members of DEA Group 24

including, Special Agent Kevin Frankel (“SA Frankel”) and DEA TFOs Eddy Sobkowiak, Arnold

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Martinez, and Torrence Johnson, arrived at Amtrak Train Number 21, Car Number 2120, Room

14. SA Frankel and the TFOs were dressed in casual civilian attire, with no weapons, radios or

other police paraphernalia visible.

        11.      Based upon a Michigan driver’s license photo, Villarreal, was identified as he

boarded the Amtrak train.       At that time, a consensual interview was initiated when TFO

Sobkowiak identified himself to Villarreal by displaying government issued DEA credentials and

asked to speak with him. TFO Sobkowiak advised Villarreal that he was not under arrest, and not

in any kind of trouble. Villarreal agreed to speak with agents.

        12.      TFO Sobkowiak asked if he could see a photo identification to which Villarreal

produced a Michigan state driver's license bearing his name and likeness. TFO Sobkowiak looked

at the license to verify Villarreal's identity and immediately handed the license back to Villarreal.

TFO Sobkowiak noted that the photo on the driver’s license was the same photo obtained earlier.

TFO Sobkowiak also asked Villarreal if he could see his Amtrak boarding pass. Villarreal handed

his boarding pass to TFO Sobkowiak. TFO Sobkowiak looked at the boarding pass and returned it

to Villarreal.

        13.      When TFO Sobkowiak asked Villarreal where he was traveling, he stated that he

was traveling to Austin, Texas. TFO Sobkowiak asked Villarreal if the purpose of his trip was for

business or pleasure. Villarreal stated that his trip was for pleasure and he was going to visit his

fiancé. TFO Sobkowiak asked Villarreal if he had any other luggage beside the backpack and

duffel bag that he had in his room. Villarreal stated he also had a suitcase on the luggage rack.

        14.      TFO Sobkowiak asked Villarreal if he packed his own luggage, knew all the items

in his luggage, and if all the contents on his person and in his luggage, were his. Villarreal replied

“yes” to all three questions. TFO Sobkowiak asked Villarreal if anyone had given him anything to

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put in his luggage or on his person to take to Austin, Texas for them. Villarreal answered "no."

       15.     When TFO Sobkowiak asked Villarreal if he was traveling with any electronic

devices, he replied that he had a cell phone. TFO Sobkowiak then asked Villarreal if he had any

weapons, illegal drugs, or large amount of cash on him or in his luggage. Villarreal stated "no".

Villarreal then stated he had approximately $1,300 in his pocket for travel expenses.

       16.      When TFO Sobkowiak asked Villarreal if he would consent to a search of his

luggage to confirm none of the items discussed, Villarreal looked dazed and began fumbling

through his pockets. TFO Sobkowiak asked Villarreal to keep his hands out of his pockets for

officer safety issues. Villarreal again put his hands in his pockets, retrieved an inhaler, and used it.

TFO Sobkowiak then observed Villarreal sweating heavily from his head. TFO Sobkowiak again

asked if Villarreal would consent to a search of his luggage to verify his statements. At the time,

Villarreal gave oral consent to search his luggage and handed his backpack and duffel bag to TFO

Sobkowiak.

       17.     TFO Sobkowiak searched Villarreal's backpack with negative results but located

numerous bundles of rubber-banded cash concealed inside of several pairs of shoes within the

duffel bag. See Government Exhibit A.

       18.      TFO Sobkowiak asked Villarreal if the currency belonged to him and, if so, why

he did not mention the currency when TFO Sobkowiak asked him earlier. Villarreal stated said the

cash belonged to him and did not believe he had to tell TFO Sobkowiak that he had the cash despite

being specifically asked about it. When TFO Sobkowiak asked Villarreal how he had come to

possess the cash, Villarreal would not answer.

       19      SA Frankel and TFO Johnson then conducted a search of Villarreal’s suitcase and

located several more bundles of cash concealed within the clothing. Villarreal stated he had

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maybe $17,000 in his luggage.

       20.     TFO Sobkowiak advised Villarreal that DEA agents would be seizing the U.S.

currency pending further investigation but he could obtain a receipt for the seized currency.

Villarreal advised TFO Sobkowiak he wanted a receipt, but did not want to miss his train. TFO

Sobkowiak advised Villarreal that his train was scheduled to depart in approximately 10 minutes

and he would surely miss the train.

       21.     Villarreal then asked if he was under arrest and if the DEA agents were trying to

trick him by making him exit the train to arrest him. TFO Sobkowiak advised Villarreal that he

was not under arrest and that he was free to do whatever he wished. Villarreal then stated he wanted

a receipt and would exit the train.

       22.     While walking to the DEA Office at Union Station, TFO Sobkowiak asked

Villarreal if he worked and, if so, what he did for a living. Villarreal stated he is a carpet installer

and had been for approximately five years. When asked who he worked for, Villarreal said that he

works for a friend, but would not identify the friend by name. When asked the last time he had

filed state and federal income tax returns, Villarreal replied that it had been several years.

       23.     On December 4, 2017, Amtrak Police Officer Robert Crowley and drug detector

canine, “Gander," conducted a drug odor sniff investigation on the cash and luggage.             Gander

alerted positive to the presence of an illegal narcotic odors.

       24.     Drug detector canine “Gander” is owned by the Amtrak Police Department and was

last certified prior to this investigation on November 29, 2017 by the State of Illinois. Gander is

certified to detect drugs, including the detection of cocaine, heroin, methamphetamine, and

marijuana.    Over the past several months, Gander has been used in approximately 30

investigations with a success rate of more than 90 percent.

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        25.     The recovered cash totaled $26,575 and was in the following denominations: 20 one

hundred dollar bills, 26 fifty-dollar bills, 1,117 twenty-dollar bills, 71 ten-dollar bills, and 5 five-

dollar bills.

                                               Conclusion

        26.      For the reasons stated herein and in the attached affidavit, the defendant funds in

the amounts of $26,575: (i) were monies furnished and intended to be furnished in exchange for a

controlled substance; and/or (ii) are the proceeds from the sale of a controlled substance; and/or

(iii) were monies used or intended to be used to facilitate a narcotics transaction in violation of 21

U.S.C. § 841, et seq., and therefore are subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6).

        WHEREFORE, the United States of America requests:

                 a.      the defendant funds be proceeded against for forfeiture and condemnation;

                 b.      due notice be given to all interested parties to appear and show cause why

the forfeiture should not be decreed;

                 c.      this court adjudge and decree that the defendant funds be forfeited to the

United States and disposed of according to law; and

                 d.      any trial in this matter be before a jury.

                                                 Respectfully submitted,

                                                 JOHN R. LAUSCH, Jr.
                                                 United States Attorney

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                                             EXHIBIT A
